                IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

JULIA GRAVES,                 )
as Administratrix of the      )
Estate of Uniece Fennell,     )
Deceased,                     )
                              )
     Plaintiff,               )
                              )
     v.                       )              1:19CV316
                              )
CLARENCE BIRKHEAD, Sheriff,   )
Durham County,                )
                              )
MICHAEL D. ANDREWS, Former    )
Sheriff, Durham County,       )
                              )
WELLPATH,                     )
                              )
MICHELLE HENDERSON, former    )
Correctional Officer,         )
Durham Co. Detention          )
Facility,                     )
                              )
FNU JACKSON, Sergeant,        )
Durham Co. Detention          )
Facility,                     )
                              )
FNU TAYLOR, Correctional      )
Officer, Durham Co. Detention )
Facility                      )
                              )
TANISHA STRIPLING,            )
Correctional Officer,         )
Durham Co. Detention          )
Facility,                     )
                              )
DURHAM COUNTY,                )
                              )
TRAVELERS CASUALTY AND        )
SURETY COMPANY OF AMERICA,    )
                As Surety     )
                              )
     Defendants.              )
                              )




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                                      ORDER

      This matter is before the court on the parties’ Joint Motion

for Approval of Settlement Agreement (Doc. 2) and Joint Supplement

to Motion for Approval of Settlement Agreement (Doc. 8).

      This case arises out of the death (by suicide) of Uniece

Fennell, a minor, on March 23, 2017, while in the custody of the

Durham County Detention Facility.              Plaintiff Julia Graves is the

decedent’s surviving parent and duly appointed Administratrix of

her   estate.      On   March   21,    2019,    Plaintiff   Julia   Graves,   as

Administratrix of the Estate of Uniece Fennell, filed this wrongful

death and survivorship action, alleging that Uniece Fennell died

as a result of Defendants’ deliberate indifference.

      The parties engaged in a good faith a pre-filing mediated

settlement      conference.     They    arrived    at   a   mutually-agreeable

settlement and subsequently filed the Joint Motion for Approval of

Settlement Agreement.      The court directed that the Joint Motion be

supplemented with additional information (Doc. 7), and the parties

have done so (Doc. 8).

      After due consideration, the court finds the Parties have

demonstrated the settlement complies with the law and the Joint

Motion, as supplemented, should be granted.             The court finds that

the settlement is fair and reasonable and that the gross settlement

amount is fair and reasonable compensation for this wrongful death

claim.    In particular, the court notes that Plaintiff brought

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claims of deliberate indifference, pursuant to the Eighth and

Fourteenth Amendments to the U.S. Constitution and 42 U.S.C.

§§ 1983    and   1988,   against    the      individually-named        Defendants,

alleging an array of wrongful acts, including a deliberate failure

to act following evidence of Ms. Fennell’s suicidal ideation and

an awareness of a pattern of suicide deaths and attempts by hanging

at the Durham County Detention Facility over a several year period

of time. Moreover, Plaintiff sued Defendant Durham County alleging

violations of sections 1983 and 1988 for alleged failure to provide

appropriate, necessary, and adequate medical care to Ms. Fennell.

Plaintiff     additionally      brought       several       state    law     claims.

Defendants have provided evidence of facts to rebut Plaintiff’s

claims and note multiple efforts over the years, including more

recently, to address safety issues at the Durham County Detention

Facility. The parties negotiated the settlement of the case during

a mediation that lasted nearly 13 hours.                    The settlement takes

into consideration the efforts made by the County and Sheriff over

the course of the discussions.            (Doc. 8 at 20.)           The settlement

also reflects a fair assessment of the monetary value of the case

in light of disputed facts, the legal standards, and settlements

identified by the parties in cases deemed to be similar.                     (Id. at

21.)    The court finds the settlement amount to be reasonable.

       Plaintiff   Julia   Graves    has      signed    a    retainer      agreement

entitling    her   attorneys,      the    Southern      Coalition      for    Social

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Justice, to 25% of the settlement amount.              Her other attorney,

William Ehlies, II, of Greenville, South Carolina, has agreed to

waive all attorney’s fees in this matter, and his costs have been

paid by the Southern Coalition for Social Justice.             The terms and

conditions set out in the Settlement Agreement (Doc. 2-2 at 6-7)

and incorporated Memorandum of Agreement (Doc. 2-2 at 1-5), which

have been signed by all parties, are fully incorporated into this

Order and are set forth as the terms and conditions of this Order

approving the settlement.       See Kokkonen v. Guardian Life Ins. Co.

of Am., 511 U.S. 375, 381 (1994) (stating federal court may

maintain “ancillary jurisdiction to enforce the agreement” where

“the terms of the settlement agreement had been made part of the

order of dismissal — either by separate provision . . . or by

incorporating the terms of the settlement agreement in the order”).

     For these reasons, therefore,

     IT IS ORDERED that the parties’ Joint Motion for Approval of

Settlement      Agreement   (Doc.   2),   as   supplemented    (Doc.   8),   is

GRANTED.

     IT IS FURTHER ORDERED that the terms and conditions set out

in the Settlement Agreement are fully incorporated as the terms

and conditions of this Order.

     IT    IS    FURTHER    ORDERED   that     the   amounts   recovered     be

distributed in the manner set out by Plaintiff’s retainer with her

counsel, the Southern Coalition for Social Justice.

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     IT IS FURTHER ORDERED that all claims against Defendants are

DISMISSED WITH PREJUDICE, each party to bear her or its own costs

and attorneys’ fees.

     The Clerk of Court is directed to close this file.



                                           /s/   Thomas D. Schroeder
                                        United States District Judge


April 19, 2019




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